
SPENCE, J.
This is a quiet title action presenting questions similar to certain questions determined in two cases this day filed, Scheas v. Robertson, L. A. No. 21357, ante, p. 119 [238 P.2d 982] and Sipe v. Correa, L. A. No. 21421, ante, p. 131 [238 P.2d 989]. Upon the authority of and for the reasons stated therein, plaintiff was correctly adjudicated a “bona fide purchaser for value” and entitled to rely on the conclusive presumption found in the 1945 amendment of section 2911 of the Civil Code.
The judgment is affirmed.
Gibson, C. J., Shenk, J., Edmonds, J., Carter, J., Traynor, J., and Schauer, J., concurred.
